     Case: 1:14-cv-08296 Document #: 1 Filed: 10/22/14 Page 1 of 44 PageID #:1




             IN THE UNITED STATES DISTRICT COURT
        NORTHERN DISTRICT OF ILLINOIS, EASTERN DIVISION

JANE DOE,                                   )
                                            )
              Plaintiff,                    )
                                            )
       v.                                   )      Case No. ______________
                                            )
THOMAS J. DART, in his official capacity )         Jury Trial Demanded.
capacity as Cook County Sheriff, CARA       )
SMITH, in her official capacity as          )
Executive Director of the Cook County Jail, )
COMMANDER SHARON A. WALLS,                  )
in her individual capacity, SERGEANT        )
DARMEA McCOY, in her individual             )
capacity, OFFICER MARA BRYANT, in           )
her individual capacity, SERGEANT           )
ANTHONY GOMEZ, JR., in his individual )
capacity, LIEUTENANT CHRISTI                )
GUZMAN, in her individual capacity,         )
SUPERINTENDENT JANE DOE 4 in her )
individual capacity, BRITANY WATSON, )
a Cook County Jail Inmate, YVONNE           )
AYALA, a Cook County Jail Inmate,           )
UNKNOWN COOK COUNTY                         )
CORRECTIONAL OFFICERS JOHN                  )
DOE 1 AND JANE DOES 1-3, in their           )
individual capacities, and COOK             )
COUNTY, a municipal corporation,            )
                                            )
              Defendants.                   )

                             COMPLAINT AT LAW

      Now Comes Plaintiff, Jane Doe, by and through her attorneys, Kathleen T.

Zellner & Associates, P.C., and complaining of Defendants, Thomas J. Dart, Cara

Smith, Sharon A. Walls, Darmea McCoy, Mara Bryant, Anthony Gomez, Jr., Christi

Guzman, Superintendent Jane Doe 4, Britany Watson, Yvonne Ayala, Unknown




                                         1
     Case: 1:14-cv-08296 Document #: 1 Filed: 10/22/14 Page 2 of 44 PageID #:2




Cook County Correctional Officers John Doe 1 and Jane Does 1-3, and Cook County,

states as follows:

                                    Introduction

      1.     The undisputed facts about Cook County Jail “CCJ” are well-known

and widely disseminated. Over 250 lawsuits have been filed and settled against the

jail for its appalling conditions. For example, the jail has been overcrowded for

years; non-violent detainees are routinely thrown in with the most violent offenders

with reckless disregard for their health and safety; putrid drinking water; filthy

cells streaked with feces and smelling of urine; and “double-celling” people in

isolation for days, weeks and even months are the norm.

      2.     The conditions pale in comparison to the criminal treatment by officers

of the inmates. Officers have brutally beaten inmates and encouraged the inmates

to rape and beat each other in a Chicago version of Abu Ghraib. Officers have

violently attacked mentally ill inmates for their alleged “non-compliance” with

officers’ orders. The culture of lawlessness has flourished at CCJ because there is

no accountability for the violent, sadistic, and cruel actions of the CCJ officers.

There is no effective training, oversight, or accountability for the CCJ staff. The

worst CCJ officer profiles like a common street thug, but is far worse because of

their intoxication with the little bit of power they have over the inmates.

      3.     Defendant Thomas Dart and his predecessors have been on notice for

years of the inhumane conditions at CCJ. The first class action related to CCJ

conditions was filed as early as 1974 in Duran v. Elrod, 74 C 2949. In 1980, the



                                           2
     Case: 1:14-cv-08296 Document #: 1 Filed: 10/22/14 Page 3 of 44 PageID #:3




Duran decree was still in effect when the United States Department of Justice

(“DOJ”) investigated conditions at CCJ and concluded that inmates housed at the

jail were “regularly subjected to inappropriate and excessive uses of physical force.”

Based on these findings the DOJ filed suit in 2010, United States v. Cook County

Illinois et. al., 10 cv 2946 (N.D. Ill.), and the parties entered into a consent decree

requiring that the defendants, including Defendant Dart, provide the CCJ inmates

with reasonably safe living conditions and protect them from excessive force and

abuse. The case is currently pending before the Honorable Judge Virginia Kendall,

and, pursuant to her order, an independent monitor files reports with the Court

twice a year, tracking the defendant’s compliance with the terms of the decree.

      4.     However, little has changed in the jail since the DOJ filed suit. The

most recent monitor’s report, filed in December, 2013, finds that the County is not

in compliance with critical consent decree provisions related to protection from

harm and excessive use of force.

      5.     Every conceivable form of violence and every related constitutional

violation has occurred at CCJ, and yet other than a few transparently disingenuous

efforts to pay lip service to reform at perfectly timed political moments, those in

power at the highest levels of Cook County government have failed to remedy the

culture of violence and deliberate indifference that exists at CCJ. Defendant Dart

has given short shrift to these claims, choosing instead to characterize these

lawsuits as “fiction” and the plaintiffs as mere criminals (although not yet




                                          3
     Case: 1:14-cv-08296 Document #: 1 Filed: 10/22/14 Page 4 of 44 PageID #:4




convicted). Those in power have chosen to “slay the messenger” of these tales of

horror as being unworthy of belief.

      6.     Now a plaintiff has emerged via this lawsuit who is able to articulate

in vivid detail the full horror of being a non-violent minimum security inmate at

CCJ. Plaintiff was a 27-year-old female at the time she was housed at CCJ. She

was a former medical student, and later a graduate student at one of the best

universities in the nation. She was arrested on non-violent charges in Cook County

and locked up at CCJ for 27 days. The Cook County charges were dismissed on

December 4, 2013. Plaintiff was held at CCJ until December 15 for extradition on

non-violent charges to another state.    After Plaintiff’s extradition she received

probation for these offenses.

      7.     During the 27 days at CCJ Plaintiff experienced the full panoply of

abuses that the well-established culture of sadism and violence at CCJ had to offer.

She was sexually assaulted by an inmate rumored to be HIV-positive. She was

pummeled in beatings until her nose was broken and a tooth knocked out. She was

ambushed in a bathroom by inmates that jumped her like a pack of jackals, cutting

her thigh down to the subcutaneous tissue with razor blades. Her hair was pulled

out in clumps.

      8.     All of this occurred with the full knowledge and complicity of the

officers and their supervisors.   Plaintiff was informed that the CCJ personnel

thought the brutal attacks on her were amusing and they routinely encouraged the




                                         4
     Case: 1:14-cv-08296 Document #: 1 Filed: 10/22/14 Page 5 of 44 PageID #:5




abuse and then turned a blind eye to Plaintiff's desperate need for intervention and

medical attention.

      9.     It was only when the administration heard from Plaintiff's two

prominent sisters – a physician and a human rights lawyer – that the damage

control began and Plaintiff was the recipient of token gestures of compassion.

      10.     Giving new meaning to the phrase, “power tends to corrupt and

absolute power corrupts absolutely,” the defendants in prior CCJ cases considered

their victims to be intellectually inferior, possibly impaired by mental disease, and

too disreputable to make effective plaintiffs in civil rights actions.      Plaintiff,

however, suffers from none of those afflictions.      Plaintiff’s near photographic

memory has resulted in an ability to identify her abusers, quote their exact words,

and describe in minute detail their abusive actions towards her. Plaintiff has led a

life marked by intellectual and humanitarian achievements that sustained her

through her darkest hours in CCJ.

      11.    Plaintiff brings this lawsuit to hold Defendants liable for their

egregious violations of her civil rights.

                               Jurisdiction and Venue

      12.    This is a civil rights action brought pursuant to 42 U.S.C. §1983 et

seq.; the Judicial Code, 28 U.S.C. §§1331 and 1343(a); and the Constitution of the

United States. This Court also has supplemental jurisdiction over the pendent state

law claims as codified in 28 U.S.C. §1367(a).




                                            5
     Case: 1:14-cv-08296 Document #: 1 Filed: 10/22/14 Page 6 of 44 PageID #:6




       13.    This Court has jurisdiction of the action pursuant to 28 U.S.C. § 1331.

Venue is proper under 28 U.S.C. §1391(b) because the events giving rise to

Plaintiff’s claims occurred in this judicial district.

       14.    This Court also has diversity jurisdiction pursuant to 28 U.S.C.

§1332(a)(1), as Plaintiff is a citizen of the State of Minnesota, no Defendant is a

citizen of Minnesota, and the amount in controversy is greater than $75,000.

                                         Parties

       15.    Plaintiff Jane Doe (“Plaintiff”) is a resident and citizen of the State of

Minnesota.    At all times relevant herein Plaintiff was a detainee at the Cook

County Jail (“CCJ”) located in Chicago, Cook County, Illinois.

       16.    Defendant Thomas J. Dart (“Defendant Dart”) was at all times

relevant herein the Cook County Sheriff, responsible by law for maintaining the

custody, safety, and well being of individuals committed to the CCJ. Defendant

Dart is being sued in his official capacity.

       17.    Defendant Cara Smith (“Defendant Smith”), the Executive Director of

the Cook County Jail, was at all times relevant herein employed by the Cook

County Sheriff’s Office, and along with Defendant Dart is responsible for making

policies regarding the custody, care, and safety at CCJ. Defendant Smith is being

sued in her official capacity.

       18.    Defendant Commander Sharon A. Walls (“Defendant Walls”) was at all

times relevant herein employed by the Cook County Sheriff's Office. Defendant

Walls is being sued in her individual capacity.          On information and belief,



                                               6
     Case: 1:14-cv-08296 Document #: 1 Filed: 10/22/14 Page 7 of 44 PageID #:7




Defendant Walls was the supervisor of Defendants McCoy, Bryant, Guzman,

Gomez, and Defendant Jane Does 1-4, knew of her subordinates’ misconduct as

described herein, and approved of the misconduct and the basis for it.

      19.    Defendant Sergeant Darmea McCoy (“Defendant McCoy”) was at all

times relevant herein employed by the Cook County Sheriff’s Department as a

correctional officer in the CCJ. Defendant McCoy is being sued in her individual

capacity.

      20.    Defendant Officer Mara Bryant (“Defendant Bryant”) was at all times

relevant herein employed by the Cook County Sheriff’s Department as a

correctional officer in the CCJ. Defendant Bryant is being sued in her individual

capacity.

      21.    Defendant Lieutenant Christi Guzman (“Defendant Guzman”) was at

all times relevant herein employed by the Cook County Sheriff’s Department as a

correctional officer in the CCJ. Defendant Guzman is being sued in her individual

capacity.

      22.    Defendant Officer Anthony Gomez, Jr. (“Defendant Gomez”) was at all

times relevant herein employed by the Cook County Sheriff’s Department as a

correctional officer in the CCJ. Defendant Gomez is being sued in his individual

capacity.

      23.    Defendant Superintendent Jane Doe 4 (“Defendant Jane Doe 4”) was

at all times relevant herein employed by the Cook County Sheriff’s Department as

the superintendent of Division IV, the division within which Plaintiff was housed at



                                         7
     Case: 1:14-cv-08296 Document #: 1 Filed: 10/22/14 Page 8 of 44 PageID #:8




the CCJ.     Defendant Jane Doe 4 is being sued in her individual capacity.      On

information and belief, Defendant Jane Doe 4 was the supervisor of Defendants

McCoy, Bryant, Guzman, Gomez, and Defendant Jane Does 1-3, knew of her

subordinates’ misconduct as described herein, and approved of the misconduct and

the basis for it.

       24.    Defendant Unknown Cook County Correctional Officers (herein after

identified as “Defendant John Doe No. 1” and “Defendant Jane Does 1-3”) were at

all times relevant herein employed by the Cook County Sheriff’s Department as

correctional officers in the CCJ. All Defendant John/Jane Does are being sued in

their individual capacities.

       25.    At all times relevant herein, Defendants Dart, Smith, Walls, McCoy,

Bryant, Guzman, Gomez, Superintendent Jane Doe 4, John Doe 1, and Jane Does 1-

3 were acting under color of state law and in the course and scope of their

employment.

       26.    Defendant Britany Watson (“Defendant Watson”) was at all times

relevant herein a Cook County Jail inmate charged with first degree murder,

unlawful vehicular invasion, and burglary (Case No. 13 CR 0162802).

       27.    Defendant Yvonne Ayala (”Defendant Ayala”) was at all times relevant

herein a CCJ inmate charged with unlawful restraint. (Case No. 2013-0816082).

       28.    At all times relevant herein, Defendant Cook County was an Illinois

municipal corporation. Defendant Cook County is empowered and directed to pay

any judgment for compensatory damages, including associated attorney’s fees and



                                         8
     Case: 1:14-cv-08296 Document #: 1 Filed: 10/22/14 Page 9 of 44 PageID #:9




costs, for which any Cook County Sheriff’s Department employee acting within the

scope of his or her employment is found liable.           Accordingly, Defendant Cook

County is named as an indemnification party to Count XI of this Complaint.

                                Allegations of Fact

      29.    On November 20th, 2013, while attending graduate school, Plaintiff

was arrested in Cook County on a drug charge which was dismissed on December 4,

2013. Plaintiff was detained without bail because she had an arrest warrant out of

state for unrelated drug charges. Plaintiff’s charges were all non-violent. Plaintiff

immediately signed an extradition waiver allowing thirty days for extradition,

otherwise she would have been released from CCJ because no Cook County charges

were pending.

      30.    Plaintiff was booked into the CCJ on November 21st, 2013 as a

minimum-security inmate.      However, CCJ did not have space in a minimum-

security unit, so Plaintiff was initially placed in Q-2, which is a maximum-security

unit. When Plaintiff went to retrieve her uniform, an intake officer said to her:

“What are you in here for? Picking flowers? You look so innocent” and joked that

Plaintiff probably was not “gonna do too well in here.”

      31.    Plaintiff also had a medical assessment during intake in which the

physician declared her “lower-bunk status” because of recent surgeries on her right

ankle that rendered her unable to put pressure on it. However, when Plaintiff

arrived at Q-2, there was not a lower-bunk available. Defendant Bryant told her




                                          9
    Case: 1:14-cv-08296 Document #: 1 Filed: 10/22/14 Page 10 of 44 PageID #:10




that she was not going to move anyone and that if Plaintiff was unable to climb to

the top bunk, she would have to sleep on the floor.

      32.    Plaintiff’s cellmate at the time was an elderly woman who had recently

had knee surgery so she too was unable to climb to the top bunk. Plaintiff was not

willing to sleep on the filthy floor, so she just ended up taking the top bunk.

      33.    Inmates immediately began targeting Plaintiff for reasons related to

her ethnicity and appearance. A rumor circulated that Plaintiff was a “confidential

informant.” Inmates began offering Plaintiff commissary in exchange for sexual

favors, which Plaintiff obviously declined. Defendant Watson approached Plaintiff

on her second day because Plaintiff was crying, under the guise of wanting to

“console” Plaintiff. Defendant Watson informed Plaintiff that she was incarcerated

for a homicide.

      34.    Defendant Watson proceeded to ask Plaintiff questions related to her

sexual orientation. She asked Plaintiff if she had ever been with a female and

Plaintiff told her no. She asked if Plaintiff would ever experiment with a female,

and Plaintiff said no, to which she replied, “How do you know you wouldn’t like it if

you’ve never tried it?” Defendant Watson told Plaintiff that she could be “gay for

the stay,” and that Plaintiff could be her “commissary hoe,” which Plaintiff declined.

Defendant Watson then said that she was going to continue to “work on [Plaintiff],”

and for the rest of the day kept making sexual advances towards Plaintiff.

      35.    On the morning of November 23rd, Plaintiff told the day officer,

Defendant Jane Doe 1, that Defendant Watson was sexually harassing her and



                                          10
    Case: 1:14-cv-08296 Document #: 1 Filed: 10/22/14 Page 11 of 44 PageID #:11




making her feel uncomfortable. Defendant Jane Doe 1 asked if Defendant Watson

had touched her in any way, and Plaintiff told her no but that she was concerned

that she would. Defendant Jane Doe 1 informed Plaintiff that because Defendant

Watson had not touched Plaintiff that she could not take action or file an incident

report. Both statements by Jane Doe 1 were false.

      36.    Plaintiff recalls Jane Doe 1 to be a Caucasian female with stocky, short

reddish-blond hair in her late 30’s to early 40’s.

      37.    Later that morning, Plaintiff was sitting underneath the stairs waiting

to take a shower when Defendant Watson and two other inmates came and sat near

her and began eyeing her and laughing. Defendant Watson stuck her tongue out

and wiggled it at Plaintiff and began blowing kisses at her. Plaintiff eventually

went into the shower, and after a few minutes Defendant Watson and the two other

inmates approached.     Defendant Watson was the only one who came in to the

shower, while the other two stood guard outside. Another inmate yelled, “Are you

going into the shower with snow-bunny?” Defendant Watson laughed and said “I’m

just going in to get some water.” Defendant Watson began staring at Plaintiff and

told her that she had a “pretty little body.” Plaintiff tried to cover her private parts

with her hands and asked Defendant Watson to please leave. Defendant Watson

told Plaintiff that she wasn’t leaving and that she was there to “teach [her] a few

things.”

      38.     Defendant Watson, who was 5 feet 7 inches tall and 160 pounds,

proceeded to grab Plaintiff, who was 5 feet 5 inches tall and 120 pounds, by her



                                           11
    Case: 1:14-cv-08296 Document #: 1 Filed: 10/22/14 Page 12 of 44 PageID #:12




waist, and turn Plaintiff around so that her back was facing her. Defendant Watson

started groping Plaintiff’s breasts and touching Plaintiff inappropriately. Plaintiff

began crying and begging her to stop, but Defendant Watson kept saying things like

“it’s alright” and “you’re gonna like this.” Defendant Watson persisted in touching

Plaintiff and then squatted down and grabbed Plaintiff’s thighs with her hands.

Defendant Watson put her face between Plaintiff’s thighs and penetrated Plaintiff

with her finger. Plaintiff tried to push her away, but Defendant Watson became

more aggressive. At that point Plaintiff started screaming loudly, and Defendant

Watson jumped up and said, “What the fuck is wrong with you,” and ran out of the

shower.

      39.     When Plaintiff exited the shower she was confronted by a group of

Defendant Watson’s friends who warned Plaintiff that she better not be a snitch

because the outcome for snitches was not good.

      40.     Following the sexual assault, Plaintiff went and sat under the stairs so

that she could avoid the other inmates. Defendant Jane Doe 1 came in to do a walk-

through, and confronted Plaintiff about sitting under the stairs. Plaintiff explained

to Defendant Jane Doe 1 what had just happened in the shower. Defendant Jane

Doe 1 said she would “take care of it.”

      41.     Defendant Jane Doe 1 did not separate Plaintiff from Defendant

Watson.     Instead, as Defendant Jane Doe 1 walked away, she pointed a finger

towards Defendant Watson and jokingly told her, “You stay out of trouble,” which




                                          12
    Case: 1:14-cv-08296 Document #: 1 Filed: 10/22/14 Page 13 of 44 PageID #:13




clearly notified Defendant Watson that Plaintiff had reported what had happened to

Defendant Jane Doe 1.

      42.    Plaintiff moved from underneath the stairs to an adjacent spot by the

wall. When Defendant Jane Doe 1 returned to her cubicle, Defendant Watson and

three other inmates approached Plaintiff, and each one of them grabbed Plaintiff by

a limb and carried her back underneath the stairs. Defendant Watson and three

other inmates began kicking Plaintiff repeatedly in the face, stomach, and

shoulders.

      43.    Other inmates started gathering around to watch the brutal beating.

Defendant Jane Doe 1 noticed the gathering crowd on a surveillance camera. As

Defendant Jane Doe 1 approached, the inmates attacking Plaintiff dispersed.

      44.    Following the attack, Plaintiff was in excruciating pain and her blood

was everywhere. Defendant Jane Doe 1 asked Plaintiff, in front of several other

inmates, what happened and who had attacked her. Plaintiff, not wanting to be

publicly identified as a “snitch,” asked if she could speak to Defendant Jane Doe 1

privately, but Defendant Jane Doe 1 refused. Defendant Jane Doe 1 told Plaintiff

that she was going to assume that Plaintiff was fine and expressed relief that she

would not have to do any paperwork to document the beating.

      45.    Defendant Jane Doe 1 refused to allow Plaintiff to go to the infirmary,

despite Plaintiff’s obvious need for medical attention.

      46.    After a shift change, Defendant Bryant walked by Plaintiff’s cell.

Plaintiff’s cellmate told Defendant Bryant that Plaintiff had been severely beaten.



                                          13
    Case: 1:14-cv-08296 Document #: 1 Filed: 10/22/14 Page 14 of 44 PageID #:14




Due to the pain Plaintiff was in, she asked Defendant Bryant if she could go to the

infirmary. Defendant Bryant refused, and told Plaintiff that the infirmary was very

busy and that they would not see her unless Plaintiff “was dying.”           Defendant

Bryant also told Plaintiff to “put a Band-Aid on her face and stop whining” and

informed Plaintiff she was in “jail, not a spa.” Defendant Bryant then told Plaintiff

that Defendant Jane Doe 1 had told her that Plaintiff was a “pain in the ass.”

       47.   According to CCJ policy, an incident report must be filed after a

physical altercation and a medical evaluation is mandatory. Defendant Bryant and

Defendant Jane Doe 1 never filed an incident report and Plaintiff was never

medically evaluated for the sexual assault or the initial beating. No disciplinary

action was ever taken against Defendant Watson or her friends for assaulting

Plaintiff.

       48.   Later that evening, Plaintiff attempted to climb up to the top bunk.

However, as a result of her prior surgery and the beating she received earlier in the

day, Plaintiff ended up falling on the floor, hitting the right side of her head and the

leg that she had previously had surgery on.

       49.   Plaintiff began screaming and crying, and her cellmate began calling

for the officer through the choke-hole.     Defendant Bryant approached and told

Plaintiff that she should have slept on the floor and that it was her fault that she

had fallen from the top bunk onto the floor.

       50.   Defendant Bryant reprimanded Plaintiff for constantly complaining,

and informed Plaintiff that she was not special and therefore not going to receive



                                          14
        Case: 1:14-cv-08296 Document #: 1 Filed: 10/22/14 Page 15 of 44 PageID #:15




any special treatment.          Defendant Bryant told Plaintiff that if she kept

complaining, Plaintiff would go to “the hole” (solitary confinement).        Defendant

Bryant then suggested that Plaintiff “breathe into a paper bag,” and then left.

          51.   The following morning, Defendant Jane Doe 1, who had been informed

of the sexual and physical assaults on Plaintiff by Defendant Watson and others,

did not mention the incident, and acted as though it had never happened.

          52.   While Plaintiff was taking a shower, Defendant Watson and two other

inmates approached. One of the inmates grabbed a towel from Plaintiff’s hand and

dropped it on the floor. The inmate slapped Plaintiff’s buttocks and then the group

left.

          53.   Plaintiff told Defendant Jane Doe 1 that she was sexually abused in

the shower and that she wanted to move to a different unit. Defendant Jane Doe 1

rolled her eyes and told Plaintiff that if she wanted to switch units she had to write

to the grievance officer.

          54.   Plaintiff then had a visit with her sister, who is an attorney

(hereinafter “AB”). AB immediately took notice of Plaintiff’s injuries and expressed

disbelief that Plaintiff had not been evaluated by a doctor.          Plaintiff told AB

everything that happened regarding the abuse of her at the hands of the CCJ

officers and inmates.

          55.   AB informed Plaintiff’s other sister, a physician (hereinafter “CD”), of

all of the details of the abuse inflicted on Plaintiff at CCJ. CD called the CCJ and

asked to speak to a supervisor; she was connected to someone claiming her name



                                            15
    Case: 1:14-cv-08296 Document #: 1 Filed: 10/22/14 Page 16 of 44 PageID #:16




was “Officer Snow,” but it was later revealed that Officer Snow’s real name is

Defendant McCoy. CD explained the situation to Defendant McCoy, who was very

rude and dismissive towards her, but said that she would ultimately look into the

situation.

      56.    Later that evening, Defendant McCoy arrived in Plaintiff’s tier and

asked in a loud voice where Plaintiff was by name. Plaintiff identified herself and

Defendant McCoy came over and asked her what was going on. Plaintiff asked to

speak privately with Defendant McCoy, but Defendant McCoy refused. Plaintiff

then explained to Defendant McCoy that she was not going to accuse anyone

publicly and that Defendant McCoy should understand why.               Defendant McCoy

called Plaintiff a “smart-ass” and began repeatedly yelling, “Point them out!” When

Plaintiff would not identify the perpetrators, Defendant McCoy accused her of lying.

Many inmates gathered around and watched the confrontation.

      57.    Defendant McCoy refused to inquire of any other officers who may

have had knowledge of who attacked Plaintiff.                 On information and belief,

Defendant McCoy never reviewed any of the video footage from the time of the

assault to try learn the identity of Plaintiff’s attackers.

      58.    Plaintiff knew that as a result of Defendant McCoy asking her to

identify her attackers in front of other inmates, she would be further targeted for

physical beatings and possible sexual assaults.        The combination of the stress,

physical injuries, and her low blood pressure from her prescribed medication

Clonidine caused Plaintiff to faint.



                                            16
    Case: 1:14-cv-08296 Document #: 1 Filed: 10/22/14 Page 17 of 44 PageID #:17




      59.      Defendant McCoy told Plaintiff to “quit faking” and told her to get up.

When Plaintiff was unable, Defendant McCoy yanked her up by the arm.

Defendant Bryant, who witnessed the confrontation, began to make fun of Plaintiff

by doing fainting impressions.

      60.      Defendant McCoy escorted Plaintiff down the hall.        Plaintiff was

limping from her injuries, and Defendant McCoy stated, “Oh yeah, make it look

good for the cameras.”

      61.      Defendant McCoy      took Plaintiff to Defendant Gomez’s office.

Defendant McCoy told Defendant Gomez that one of Plaintiff’s sisters was calling

the jail and “raising hell” because Plaintiff was “making false accusations” of rape

and assault.    Defendant McCoy referred to Plaintiff as “one of those sue-happy

inmates.” Defendant McCoy asked, “Should we interview her on videotape?” and

Defendant Gomez responded, “No” without an explanation.

      62.      Defendant Gomez acknowledged the injuries on Plaintiff’s face and

asked Plaintiff to describe what happened to her. Plaintiff explained to Defendant

Gomez all of the details of the assaults and the other abuse she had suffered.

Plaintiff also explained to Defendant Gomez how Defendant McCoy had approached

her on the pod and asked her to publicly identify the perpetrators of her assaults.

      63.      Defendant Gomez said there was not anything that he could do “at this

point,” other than to offer Plaintiff protective custody. Defendant Gomez explained

that Plaintiff would be in her cell for 23 hours each day and that it was akin to

solitary confinement, except that it would be voluntary on her part.



                                          17
    Case: 1:14-cv-08296 Document #: 1 Filed: 10/22/14 Page 18 of 44 PageID #:18




      64.    Defendant Gomez further elaborated that PC mostly consisted of

“child-molesters and baby-killers” that were in fear of being targeted by inmates

because of the nature of their charges. Plaintiff told Defendant Gomez that she did

not want to be in PC and she signed a document stating that she did not want to be

in PC. Plaintiff told Defendant Gomez that she wanted to be moved to a unit that

wasn’t composed of all violent offenders since she was simply being held for

extradition to another state on non-violent charges.

      65.    Defendant McCoy once again accused Plaintiff of fabricating the sexual

assaults and physical beatings. Defendant McCoy told Plaintiff that inmates don’t

get to pick their tiers and that “this is not the Hilton and if you don’t like the

accommodations then you shouldn’t have made the reservation.”

      66.    Defendant Gomez opened Plaintiff’s file on his computer and

commented that she should not have been placed in maximum security.          When

Defendant Gomez opened her file on the computer, he asked why there was no

incident report regarding the physical and sexual assaults.     Defendant Gomez

stated that because the incidents occurred the day before there should have already

been an incident report on file. Defendant Gomez directed Defendant McCoy to file

an incident report of her conversation with Plaintiff that night but that was never

done by Defendant McCoy or anyone else.

      67.    Defendant Gomez stated that he would make arrangements for

Plaintiff to be moved. Defendant Gomez stated that even if there was no room in a

lower security unit, he would move someone so that Plaintiff would be placed in



                                         18
    Case: 1:14-cv-08296 Document #: 1 Filed: 10/22/14 Page 19 of 44 PageID #:19




lower security. Defendant Gomez told Plaintiff to return to Q-2 and wait in her cell

to be moved. Despite observing her injuries and being told about them, Defendant

Gomez took no action to have medical treatment provided to Plaintiff.         Despite

Defendant McCoy being abusive to Plaintiff in front of Defendant Gomez, he did

nothing to intervene and stop the abuse or address Plaintiff’s other concerns.

        68.   Plaintiff was to be moved to I-2, a medium-maximum security unit just

down the hall from Q-2. The inmates in I-2 were not completely separated from the

violent offenders in Q-2. Plaintiff continued to run into Defendant Watson and the

other inmates who had attacked her.

        69.   When Plaintiff returned to Q-2, she was told that she would not be

allowed to go into her cell until 9:00 p.m. Plaintiff made soup for herself and went

downstairs to avoid the other inmates. Defendant Watson and two of her friends

came downstairs after Plaintiff. They began walking closely around Plaintiff trying

to intimidate her. At one point, as Plaintiff was taking a sip, an inmate named

Jackie kicked at Plaintiff’s face, knocking the soup cup out of Plaintiff’s hands and

hitting her in the chin. The soup spilled all over Plaintiff’s uniform; when Plaintiff

asked for a new uniform, the officer refused to provide her a new uniform because

she would get a uniform the next day. Fortunately, Plaintiff was not burned by the

soup.

        70.   At around 8:45 p.m., Defendant McCoy returned to escort Plaintiff to

her new tier, I-2. Defendant McCoy stated that it was a medium-maximum security

tier, so it wouldn’t be as hostile and that there would probably be a lot of



                                         19
    Case: 1:14-cv-08296 Document #: 1 Filed: 10/22/14 Page 20 of 44 PageID #:20




“dopeheads like [Plaintiff].” Defendant McCoy also said that she did not want to

hear anymore “bullshit” from either Plaintiff or her sister, AB.

       71.   Defendant McCoy walked Plaintiff into I-2 and told her to go into the

day room.    Defendant McCoy, in a loud voice, told the large group of inmates

present in the day room, “Ladies, I have a public service announcement.”

Defendant McCoy then pointed at Plaintiff and said, “Don’t mess with this

‘ratchet’(raggedy) girl right here unless ya’ll want to get snitched on.” Defendant

McCoy’s announcement made Plaintiff a vulnerable target all over again in her new

pod.

       72.   Once again, Plaintiff was denied a top bunk. Plaintiff’s new cellmate

was an elderly, mentally-impaired woman, and Plaintiff compassionately decided

not to request the lower bunk.

       73.   Rather than risk further injury, Plaintiff decided to sleep on the floor

the next couple of nights. However, the cell was so cramped that part of Plaintiff’s

body was under the toilet. The second night, her cellmate woke up to urinate and

ended up urinating on the floor and on Plaintiff.

       74.   Because of Defendant McCoy’s “public service announcement,” the

other inmates were immediately hostile to Plaintiff, making remarks about Plaintiff

being a snitch and referring to her as “albino,” “cracker,” and “Yankee.” An inmate

walked by Plaintiff and poured ice down her shirt; another inmate pulled her pants

down while she was using the phone.




                                          20
    Case: 1:14-cv-08296 Document #: 1 Filed: 10/22/14 Page 21 of 44 PageID #:21




      75.    Defendant Jane Doe 2, a morning officer on I-2, watched while

Plaintiff’s pants were being pulled down and she joked that there was a “full moon

tonight.” Defendant Jane Doe 2 did nothing to intervene and stop the harassment.

      76.    Plaintiff recalls Defendant Jane Doe 2 to be a middle-aged heavy-set

Caucasian female.

      77.    The severity of the abuse escalated. One morning, while Plaintiff was

taking a shower, two inmates came in and threw ice at Plaintiff. Another day,

while Plaintiff was taking a shower, inmates came in and stole all of her clothes and

her towel and Plaintiff had to wait in the shower for about half an hour for someone

to retrieve other clothing for her. In a conversation with an inmate named Kinesha,

she told Plaintiff that it was not fair but that is how “snitches” are treated in jail.

Kinesha’s statements confirmed the damage done by Defendant McCoy’s “public

service announcement.”

      78.    Plaintiff was afraid to report these incidents to the officers because,

based on her prior experiences, she knew the officers would tell the other inmates

and make her the target of even more abuse. Rather than make a verbal complaint

to any of the correctional officers on the tier, Plaintiff wrote to Defendant Walls.

Plaintiff never received any response to her grievance. Defendant Walls later told

Plaintiff the grievance was probably “somewhere” on her desk.

      79.     Plaintiff began washing up in her room because she was terrified to go

into the shower. Inmates noticed that Plaintiff was not taking showers anymore

and told Defendant Jane Doe 2 that she “smelled bad.” Defendant Jane Doe 2 made



                                          21
    Case: 1:14-cv-08296 Document #: 1 Filed: 10/22/14 Page 22 of 44 PageID #:22




it a point to come into the day-room and address this by publicly yelling at Plaintiff

and embarrassing her by yelling that Plaintiff “smelled bad.” Plaintiff’s impression

was that Defendant Jane Doe 2 was trying to impress and curry favor with the

inmates by making these comments to Plaintiff. Defendant Jane Doe 2’s comments

to Plaintiff subjected her to further ridicule by other inmates.

      80.    On the morning of November 26th, one of the two most serious physical

assaults on the Plaintiff occurred. Three inmates approached Plaintiff and asked to

talk to her for a minute about something important. They took Plaintiff underneath

the stairs and circled her. One of the inmates, Defendant Ayala, pushed Plaintiff’s

head into the staircase, and then slapped Plaintiff across the face. Defendant Ayala

pushed Plaintiff again and she fell down, and all three of her attackers began

kicking Plaintiff over and over again.     They ended up knocking out a chunk of

Plaintiff’s tooth, lacerating her chin, and breaking her nose.

      81.    It was Plaintiff’s impression that Defendant Watson had instigated

this attack on Plaintiff because Defendant Watson had contact with Defendant

Ayala and her friends in a GED class.

      82.    All of the inmates ran downstairs to watch the altercation.          On

information and belief, Defendant Jane Doe 2 was not paying attention to the

cameras and did not notice the crowd that was gathering. When the assault was

over everyone dispersed and two inmates, Kinesha and Jamie, came to help

Plaintiff. They brought Plaintiff toilet paper so that she could clean the blood.

Plaintiff’s nose, chin, lip, and the inside of her mouth were all bleeding. Plaintiff



                                          22
      Case: 1:14-cv-08296 Document #: 1 Filed: 10/22/14 Page 23 of 44 PageID #:23




was not able to sit up, so they folded up her blanket and put it under her head.

They encouraged Plaintiff to tell the officer or ask to speak to a “white shirt.”

        83.   However, Plaintiff was too frightened and intimidated to tell any

officer or “white shirt” about these events because of the previous assaults on her

after she had reported abuse. After Plaintiff was able to sit-up, she went and sat

next to her cell. Plaintiff picked up the piece of her tooth that was knocked out,

wrapped it in toilet paper, and put it in her pocket. The remaining part of the tooth

was so loose that Plaintiff eventually pulled it out on her own.

        84.   When Defendant Jane Doe 2 came to unlock Plaintiff’s cell door, she

did not acknowledge the fact that Plaintiff was bleeding profusely.             Instead,

Defendant Jane Doe 2 yelled at Plaintiff for bringing her blanket into the dayroom

and warned that if Plaintiff did that again, Defendant Jane Doe 2 would write her

up.

        85.   On November 26th, AB again visited Plaintiff and observed her

injuries. AB asked the visiting room officer if she could speak to someone in charge.

He told her that she would have to make an appointment if she wanted to meet

with any staff member. This same officer had previously mentioned to AB that he

thought it was great that the Plaintiff was getting in fights. When AB asked “What

if she dies?” he responded, “Well, you’ll have a great lawsuit.”

        86.   That same day, AB called the jail to speak with a supervisor. AB was

connected to Defendant McCoy.         Defendant McCoy told AB that Plaintiff was

fabricating the beatings for attention. AB asked Defendant McCoy how she could



                                           23
    Case: 1:14-cv-08296 Document #: 1 Filed: 10/22/14 Page 24 of 44 PageID #:24




explain all of Plaintiff’s physical injuries if Plaintiff were making up the attacks.

Defendant McCoy had no response.

      87.    Defendant McCoy stated that if Plaintiff was being targeted then she

was probably doing something to attract attention. Defendant McCoy represented

to AB that she would send somebody to talk to Plaintiff later that day, but no one

ever came to see Plaintiff as Defendant McCoy had represented.

      88.    On the evening of November 26, while Plaintiff was eating dinner, she

noticed a strange taste to her potatoes and felt a burning sensation in her mouth

and throat. When Plaintiff smelled her tray, she realized that someone had put

Nair in her food. Plaintiff looked around and saw Defendant Ayala and her friends

laughing and waving at her. Plaintiff reported the incident to Defendant Jane Doe

3, who was indifferent about the incident. Defendant Jane Doe 3 did not file an

incident report so that the perpetrators could be disciplined.

      89.    Plaintiff recalls that Defendant Jane Doe 3 was a soft-spoken Hispanic

female with a tattoo on her arm that said “Antony” or “Anthony.”

      90.    On November 27th, Defendant Jane Doe 1, who was aware of the prior

assaults and did nothing when she was working on Q-2, was on duty on I-2. In the

early morning, Plaintiff went into the bathroom to brush her teeth, and Defendant

Ayala was present. When Plaintiff walked in, Defendant Ayala began cursing at

her and yelling at her to get out. Plaintiff exited the bathroom. After Defendant

Ayala left the bathroom, Plaintiff re-entered the bathroom and began brushing her

teeth. Defendant Ayala returned to the bathroom with two of her friends, and they



                                          24
    Case: 1:14-cv-08296 Document #: 1 Filed: 10/22/14 Page 25 of 44 PageID #:25




cornered Plaintiff into a stall. One of the inmates stood guard in front of the stall

and Defendant Ayala and the other girl began hitting Plaintiff. The inmate pulled

Plaintiff’s hair so that her head was tilted sideways, and Defendant Ayala pulled

down Plaintiff’s pants. Defendant Ayala then pulled out a razor blade and incised

Plaintiff’s left leg.   Defendant Ayala then slashed Plaintiff’s left eyebrow.

Defendant Ayala dropped the razor blade and continued to hit Plaintiff. The other

inmate pulled a patch of hair from Plaintiff’s left temple

      91.    Plaintiff blacked out during part of the attack.         When Plaintiff

regained consciousness, she was lying on the middle of the bathroom floor in her

underwear and looking up at Defendant Jane Doe 1. Defendant Jane Doe 1 was

standing there watching, unfazed and eating M&Ms.

      92.    Defendant Jane Doe 1 asked Plaintiff to tell her what had just

happened. Plaintiff told Defendant Jane Doe 1 that Defendant Ayala struck her

with a razor blade. Despite the obvious wounds on Plaintiff’s body, Defendant Jane

Doe 1 told Plaintiff “that’s not possible since inmates aren’t allowed to have razors.”

Defendant Jane Doe 1 told Plaintiff that she would talk to Defendant Ayala and the

other perpetrators and then file a report, which was never done.

      93.    Plaintiff observed that Defendant Jane Does 1 and 2 had a very cordial

relationship and appeared to be very friendly with Defendant Ayala.

      94.    Defendant Jane Doe 1 continued by telling Plaintiff that “it’s not a

good idea to talk back to [Defendant Ayala]” and that she wasn’t surprised that

Plaintiff was getting her “ass kicked.” Defendant Jane Doe 1 also stated that rather



                                          25
    Case: 1:14-cv-08296 Document #: 1 Filed: 10/22/14 Page 26 of 44 PageID #:26




than trying to change Plaintiff’s surroundings, she should try to change herself

because she thought she was “better than everyone” and “people noticed it.”

         95.   Plaintiff had tried everything possible to make herself inconspicuous to

other inmates. She hardly talked to anyone, tried to stay out of everyone’s way, and

never mentioned her background, her family, or their occupations.

         96.   In the meantime, Plaintiff went back into her cell so that she could lie

down. Plaintiff put a towel around her thigh to try and stop the bleeding. At no

time during that day or night was any medical care provided to Plaintiff. The razor

had cut through all 3 levels of skin down to the subcutaneous level on Plaintiff’s

thigh.

         97.   Later, Plaintiff came out of her cell to get her morning medicine from

the nurse. The medicine consisted of Clonidine, a blood pressure medication. The

nurse expressed concern about the fresh injuries on Plaintiff’s face because she was

aware of Plaintiff’s prior injuries. Specifically, the nurse said “Oh my God your

face, you’re bleeding again.” Plaintiff informed the nurse that she also had a large

cut on her leg, and the nurse saw that Plaintiff was bleeding through her pants.

The nurse provided Plaintiff with alcohol squares, antibiotic ointment, Ibuprofen,

and other medical supplies. The nurse told Plaintiff that she would request for

medical to see her. Defendant Jane Doe 1 stood by observing this interaction and

said nothing. Defendant Jane Doe 1 did nothing to help Plaintiff receive medical

treatment for her injuries.




                                           26
    Case: 1:14-cv-08296 Document #: 1 Filed: 10/22/14 Page 27 of 44 PageID #:27




      98.     CD visited Plaintiff later on November 27. CD, as a physician, was

shocked at Plaintiff’s condition. Plaintiff had a severely damaged nose which was

bruised and had residual blood on her nostrils. Plaintiff would later learn that the

serious injuries to her nose would require extensive plastic surgery to repair.

Plaintiff also presented with bruising under both eyes, most prominently under her

right eye, and a gaping wound under her chin. CD commented that the depth of the

cut required stitches. Plaintiff told CD how an inmate cut her with a razor blade,

and CD told Plaintiff that she needed to get tested for Hepatitis C and HIV since

Plaintiff was cut with someone else’s razor.

      99.     After CD’s visit with Plaintiff she called the jail to speak to a

supervisor.    She spoke to an individual who identified himself as “Allen”

(“Defendant John Doe 1”). Defendant John Doe 1 refused to disclose his rank or

position to CD, telling her it was “irrelevant.”

      100.    CD explained to Allen the emergent nature of Plaintiff’s physical

condition. CD explained that she was a physician and saw the need for immediate

medical care before Plaintiff’s injuries became worse or infected. CD also discussed

her concerns regarding Defendant McCoy’s handling of the situation and how she

made Plaintiff a target with her “public service announcement.”

      101.    Defendant John Doe 1 responded by stating that Defendant McCoy

followed protocol, and he didn’t see how her telling inmates Plaintiff was a snitch

made her a target. Defendant John Doe 1 told CD that Plaintiff was in jail and

should not expect to be treated with dignity and respect.          Plaintiff’s sister



                                           27
    Case: 1:14-cv-08296 Document #: 1 Filed: 10/22/14 Page 28 of 44 PageID #:28




threatened to hire a lawyer.     Defendant John Doe 1 told her to go ahead, but

ultimately it would be CCJ employees’ word against Plaintiff’s.           Eventually

Defendant John Doe 1 agreed to look into it, and told CD he would call her after

doing so.

      102.   CD never heard back from Defendant John Doe 1. CD also emailed the

Cook County Sheriff’s Department on November 28, 2013 and detailed the severe

abuse of Plaintiff.

      103.   In retaliation for Plaintiff’s sister’s statement to Defendant John Doe

1, later that night at about 9:30 p.m., an Officer Thomas came to the pod to speak

with Plaintiff. When Officer Thomas saw Plaintiff she shook her head and she

made a comment about how Plaintiff looked like she had been through hell. Officer

Thomas began asking Plaintiff questions related to having any suicidal ideations,

which Plaintiff denied. At no time did Officer Thomas represent to Plaintiff that

she had the necessary credentials to be performing a psychological or psychiatric

assessment of Plaintiff’s mental state. Officer Thomas did not make any notes and

these questions seemed to be a pretext to put Plaintiff in solitary confinement.

      104.   About thirty minutes after Officer Thomas left, two female African-

American officers came and told Plaintiff to pack up her stuff, and leave behind any

food/commissary items that Plaintiff had because Plaintiff was going to the “hole”

(solitary confinement). Plaintiff began to protest and they said that if she did not

comply, that they would drag Plaintiff out and have someone else pack up her

things.



                                          28
    Case: 1:14-cv-08296 Document #: 1 Filed: 10/22/14 Page 29 of 44 PageID #:29




      105.   Plaintiff began packing and when she grabbed her sheet and blanket,

the remnants of her tooth fell out onto the floor from under her sheet. The officers

confiscated the tooth and declared it as contraband. They handcuffed Plaintiff and

escorted her to the “hole,” where she later learned that she was being accused of

“disrupting jail equipoise.”     The accusation was later amended to include

“possessing dangerous contraband” i.e., Plaintiff’s tooth.

      106.   Plaintiff’s telephone privileges were revoked as well, even though

inmates in “the hole” are supposed to be allowed to use the phone during their one-

hour period of recreation.

      107.   Plaintiff was allowed out of her cell for one hour each day to take a

shower or watch TV.      Plaintiff’s family became concerned because she had not

contacted them as she usually had multiple times every day.

      108.   Plaintiff’s sisters contacted the jail and were connected to numerous

people until it was misrepresented to them that Plaintiff had voluntarily entered

herself into protective custody. Revealing that Plaintiff was in protective custody

was against jail protocol. The jail was unable to produce documentation verifying

that Plaintiff had voluntarily put herself into protective custody.

      109.   On December 2nd, on her fifth day of solitary confinement, a Caucasian

officer told Plaintiff to pack her things because she was moving to a new pod, J-2.

Plaintiff was given no explanation for the move.

      110.   Shortly after Plaintiff arrived at her new pod, she was brought to

Defendant Guzman’s office.       Defendant Guzman told Plaintiff that she was



                                          29
    Case: 1:14-cv-08296 Document #: 1 Filed: 10/22/14 Page 30 of 44 PageID #:30




contacted by the Sheriff’s Office due to concerns about how Plaintiff was being

treated. Defendant Guzman stated that she was “appalled” that this had all gone

on under her nose, and also that Plaintiff never received any medical attention.

      111.   Plaintiff had previously walked past Defendant Guzman in the

hallway when her face was clearly injured. Defendant Guzman had looked directly

at Plaintiff and said nothing.

      112.   Defendant Guzman told Plaintiff that she wanted to speak to Plaintiff

in detail about everything, but first she wanted Plaintiff to be seen in the infirmary

and by mental health as soon as possible.

      113.   A female officer (“Officer X”) came to escort Plaintiff to the medical

unit. Plaintiff knows the identity of Officer X, but will not disclose her name until

the appropriate time because she fears reprisal against this officer.        Officer X

obtained a wheelchair for Plaintiff because she was limping.

      114.   Officer X told Plaintiff that she had actually heard about Plaintiff from

other officers and that Plaintiff was disliked because the officers thought that

Plaintiff believed she was privileged.    According to Officer X, the other officers

thought that the frequent assaults upon Plaintiff were amusing. Officer X told

Plaintiff that other officers had told stories about her multiple times. Per Officer X,

one of the officers apparently referred to Plaintiff as the “little rich white girl who

was getting her ass beat.” Officer X stated that as soon as the officers put on their

uniforms they were on a power trip, and that the officers were jealous of Plaintiff.




                                          30
    Case: 1:14-cv-08296 Document #: 1 Filed: 10/22/14 Page 31 of 44 PageID #:31




      115.   On December 2, 2013, a CCJ medical doctor put stitches in Plaintiff’s

chin and thigh, and gave her some prophylactic antibiotics because the wounds

were deep and put her at risk for a staph infection.       He also took an x-ray of

Plaintiff’s nose and confirmed that it was broken. He evaluated her ankle and

determined that the pain and swelling was from the top-bunk fall. He bandaged

her ankle, prescribed pain medicine, and gave Plaintiff some ice packs.            He

informed Plaintiff that they rarely administer narcotic pain medications in jail, but

Plaintiff’s injuries were severe enough to warrant it. The doctor prescribed her

Tylenol with codeine.

      116.   The CCJ medical doctor gave Plaintiff the option of having a female

practitioner come in and do a rape evaluation, but told Plaintiff it likely would be

inconclusive since the incident occurred a couple of weeks ago. He wanted Plaintiff

to return the next day for blood work to test for Hepatitis C and HIV. He also

informed Plaintiff that if the tests come back negative, that she should get re-tested

in 6 months since sometimes these viruses “lay dormant.”

      117.   The CCJ medical doctor told Plaintiff that they would call down to her

the next day for a CT scan and blood work. There was no follow-up by the CCJ

medical doctor even though Plaintiff was in CCJ for 10 more days.

      118.   After Plaintiff’s medical and mental health evaluation, she was again

escorted back to Defendant Guzman’s office. Plaintiff asked Defendant Guzman

why she was placed in solitary confinement. Defendant Guzman stated that she

had no record of Plaintiff ever being in solitary confinement. Defendant Guzman



                                         31
    Case: 1:14-cv-08296 Document #: 1 Filed: 10/22/14 Page 32 of 44 PageID #:32




said she would investigate why Plaintiff had been placed in solitary confinement,

but Plaintiff never heard from Defendant Guzman again.

      119.   The following day, a woman came to speak with Plaintiff as there was

a report that she had been repeatedly sexually assaulted. The woman mentioned

her meeting with Plaintiff was related to the Prison Rape Elimination Act. The

woman told Plaintiff that she should have been separated from Defendant Watson

and her associates after the first sexual assault.

      120.   Around December 3rd, Lieutenant Giunta visited with Plaintiff.

Lieutenant Giunta stated that he was with the Sheriff’s office, and that the Sheriff

asked that he speak to Plaintiff to gather more information. Lieutenant Giunta

represented to Plaintiff that their conversation was confidential. Plaintiff related to

him all of the details of the abuse she had suffered at CCJ.

      121.   Lieutenant Giunta, after hearing Plaintiff’s description of her abuse at

CCJ, repeatedly stated, “he knows what he has to do.” Lieutenant Giunta told

Plaintiff that if anybody bothered her again, to inform an officer that that she

wanted to speak with him or Defendant Guzman. Lieutenant Giunta told Plaintiff

that if she spoke with Defendant Guzman, Plaintiff should tell Defendant Guzman

that she wanted to speak with Lieutenant Giunta. After this meeting, Plaintiff

never heard from Lieutenant Giunta again.

      122.   Around December 15th, Plaintiff was extradited to another state.

Plaintiff’s sister CD spoke to an officer at the out of state jail (ACJ) named Officer Y




                                          32
    Case: 1:14-cv-08296 Document #: 1 Filed: 10/22/14 Page 33 of 44 PageID #:33




who assured CD that the ACJ had a zero-tolerance policy for inmate abuse and that

CD should not worry.

      123.     Officer Y spoke to Plaintiff regarding the CCJ abuse and reassured

Plaintiff that such violence and hazing were not tolerated at ACJ. Officer Y made

sure that Plaintiff was able to speak to a mental health counselor immediately

regarding the CCJ abuse because he believed that the CCJ abuse was most likely

very psychologically damaging to Plaintiff.

      124.     Plaintiff was incarcerated in the ACJ for almost six months and was

never abused psychologically or physically by the officers or inmates.         In sharp

contrast to CCJ, the ACJ officers were respectful of Plaintiff and did not abuse her

in any way.

      125.     As a result of the severe physical and psychological injuries Plaintiff

sustained at CCJ, she is receiving psychiatric care and ongoing medical treatment.

Eventually Plaintiff will need surgeries for the injuries she has sustained.

                             COUNT I – 42 U.S.C. § 1983

          14th Amendment - Deliberate Indifference to Plaintiff’s Safety

   (All Defendants with the exception of Defendants Watson and Ayala)

      126.     Each of the foregoing paragraphs is incorporated as if fully restated

herein.

      127.     In a manner more fully described above, Plaintiff was incarcerated

under conditions posing a substantial risk of serious harm as evidenced by the

numerous sexual and physical assaults she endured at the hands of other inmates.



                                          33
    Case: 1:14-cv-08296 Document #: 1 Filed: 10/22/14 Page 34 of 44 PageID #:34




       128.   In a manner more fully described above, Defendants had a subjective

knowledge of Plaintiff’s risk of harm and personally disregarded that risk.

       129.   The misconduct described in this Count was objectively unreasonable

and was undertaken with malice, willfulness, and deliberate indifference to the

rights of Plaintiff.

       130.   The misconduct described in this Count shocks the conscience.

       131.   As a direct and proximate result of the above-described wrongful

infringement of Plaintiff’s rights, Plaintiff suffered damages, including but not

limited to physical pain, emotional distress, and mental anguish.

                           COUNT II - 42 U.S.C. § 1983

     14th Amendment - Deliberate Indifference to Serious Medical Need

    (All Defendants with the exception of Defendants Watson and Ayala)

       132.   Each of the foregoing paragraphs is incorporated as if fully restated

herein.

       133.   In a manner more fully described above, Defendants failed to provide

Plaintiff with access to timely, proper medical care, although they had actual

knowledge that Plaintiff would suffer great harm if timely medical services were not

provided.

       134.   The misconduct described in this Count was objectively unreasonable

and undertaken with malice, willfulness, and deliberate indifference to the rights of

Plaintiff.

       135.   The misconduct described in this Count shocks the conscience.



                                         34
    Case: 1:14-cv-08296 Document #: 1 Filed: 10/22/14 Page 35 of 44 PageID #:35




       136.   As a direct and proximate result of the above-described wrongful

infringement of Plaintiff’s rights, Plaintiff suffered damages, including but not

limited to physical pain, emotional suffering, and mental anguish.

                           COUNT III - 42 U.S.C. § 1983

                    14th Amendment - State-Created Danger

    (All Defendants with the exception of Defendants Watson and Ayala)

       137.   Each of the foregoing paragraphs is incorporated as if fully restated

herein.

       138.   In a manner more fully described above Defendants, by their

affirmative acts, created or increased the danger faced by Plaintiff.

       139.   In a manner more fully described above, Defendants failed to protect

Plaintiff from the danger they created.

       140.   The misconduct described in this Count was objectively unreasonable

and undertaken with malice, willfulness, and deliberate indifference to the rights of

Plaintiff.

       141.   The misconduct described in this Count shocks the conscience.

       142.   As a direct and proximate result of the above-described wrongful

infringement of Plaintiff’s rights, Plaintiff suffered damages, including but not

limited to physical pain, emotional suffering, and mental anguish.




                                          35
    Case: 1:14-cv-08296 Document #: 1 Filed: 10/22/14 Page 36 of 44 PageID #:36




                           COUNT IV - 42 U.S.C. § 1983

                          1st Amendment - Retaliation

    (All Defendants with the exception of Defendants Watson and Ayala)

       143.   Each of the foregoing paragraphs is incorporated as if fully restated

herein.

       144.   In a manner more fully described above, when Plaintiff lodged

complaints about jail conditions, Defendants retaliated by pressuring her to falsely

recant her accusations, labeling her a snitch to other inmates, subjecting her to

physical beatings, denying her access to medical treatment, and placing her in

solitary confinement.

       145.   The misconduct described in this Count was objectively unreasonable

and undertaken with malice, willfulness, and deliberate indifference to the rights of

Plaintiff.

       146.   As a direct and proximate result of the above-described wrongful

infringement of Plaintiff’s rights, Plaintiff suffered damages, including but not

limited to physical pain, emotional suffering, and mental anguish.

                           COUNT V - 42 U.S.C. § 1983

                               Failure to Intervene

    (All Defendants with the exception of Defendants Watson and Ayala)

       147.   Each of the foregoing paragraphs is incorporated as if fully restated

herein.




                                         36
    Case: 1:14-cv-08296 Document #: 1 Filed: 10/22/14 Page 37 of 44 PageID #:37




       148.   In a manner more fully described above, one or more Defendants stood

by and watched without intervening to prevent the unconstitutional and illegal

conduct to which Plaintiff was subjected.      These Defendants had a reasonable

opportunity to prevent the harm, but failed to do so.

       149.   The misconduct described in this Count was objectively unreasonable

and undertaken with malice, willfulness, and deliberate indifference to the rights of

Plaintiff.

       150.   As a direct and proximate result of the above-described wrongful

infringement of Plaintiff’s rights, Plaintiff suffered damages, including but not

limited to physical pain, emotional suffering, and mental anguish.

                           COUNT VI - 42 U.S.C. § 1983

                                 Civil Conspiracy

    (All Defendants with the exception of Defendants Watson and Ayala)

       151.   Each of the foregoing paragraphs is incorporated as if fully restated

herein.

       152.   In a manner more fully described above, Defendants together reached

an understanding, engaged in a course of conduct, engaged in a joint action, and

otherwise conspired among and between themselves to deprive Plaintiff of her

constitutional rights as set forth herein, including but not limited to the deprivation

of Plaintiff’s right to physical safety and timely medical treatment.

       153.   In furtherance of the conspiracy, each of the co-conspirators engaged in

numerous overt acts, including but not limited to the failure to separate Plaintiff



                                          37
    Case: 1:14-cv-08296 Document #: 1 Filed: 10/22/14 Page 38 of 44 PageID #:38




from Defendant Watson after Defendant Watson started to sexually harass

Plaintiff, failing to facilitate medical treatment of Plaintiff after she was sexually

assaulted by Defendant Watson, failing to separate Plaintiff from other inmates,

including Defendant Watson, who posed a risk to Plaintiff’s physical safety after

Plaintiff was sexually assaulted, identifying Plaintiff as a “snitch” in front of other

inmates, failing to separate Plaintiff from other inmates who posed a danger to

Plaintiff after the numerous beatings she endured, failing to facilitate medical

treatment of Plaintiff after she was beaten, and failing to file incident reports

regarding the assaults Plaintiff endured.

      154.   The misconduct described in this Count was undertaken with malice,

willfulness, and/or deliberate indifference to Plaintiff’s constitutional rights.

      155.   The conspiracy and overt acts described herein commenced at

approximately the time Plaintiff was admitted to CCJ and continued to

approximately the date of her extradition.

      156.   As a direct and proximate result of the above-described wrongful

infringement of Plaintiff’s rights, Plaintiff suffered damages, including but not

limited to physical pain, emotional suffering, and mental anguish.

                           COUNT VII - 42 U.S.C. § 1983

                                     Monell Claim

                           (Defendants Dart and Smith)

      157.   Each of the foregoing paragraphs is incorporated as if fully restated

herein.



                                            38
    Case: 1:14-cv-08296 Document #: 1 Filed: 10/22/14 Page 39 of 44 PageID #:39




       158.   In his capacity as the Sheriff of Cook County, Defendant Dart is a

policymaker for CCJ, and as such is responsible for establishing and ensuring that

protocols and procedures are followed to ensure the welfare and safety of pre-trial

detainees, like Plaintiff.

       159.   In her capacity as Executive Director of CCJ, Defendant Smith is a

policymaker for CCJ, and as such is responsible for establishing and ensuring that

protocols and procedures are followed to ensure the welfare and safety of pre-trial

detainees, like Plaintiff.

       160.   A culture of violence between inmates is accepted and tacitly ratified

by Defendants Dart and Smith. Similarly, a culture of indifference to the health

and safety of pre-trial detainees, such as Plaintiff, is condoned by Defendants Dart

and Smith.

       161.   In or about 2013, and for a significant period of time prior thereto,

there were in place at CCJ the following unconstitutional customs, policies, and/or

practices:

              a. placing pre-trial detainees accused of non-violent offenses and no
                 violent criminal history with pre-trial detainees accused of violent
                 offenses with criminal histories indicative of violence;

              b. placing minimum security pre-trial detainees with maximum
                 security pre-trial detainees;

              c. placing pre-trial detainees vulnerable to physical or sexual assault
                 with pre-trial detainees likely to commit physical or sexual
                 assaults;

              d. failing to investigate physical and/or sexual assaults perpetrated by
                 one pre-trial detainee against another, thereby promoting further
                 assaults;


                                          39
    Case: 1:14-cv-08296 Document #: 1 Filed: 10/22/14 Page 40 of 44 PageID #:40




             e. failing to file incident reports regarding physical and/or sexual
                assaults perpetrated by one pre-trial detainee against another,
                thereby promoting further assaults;

             f. failing to provide prompt medical care and treatment to inmates
                who have been subject to physical and/or sexual assaults
                perpetrated by other pre-trial detainees;

             g. failing to refer physical and/or sexual assaults perpetrated by one
                pre-trial detainee against another inmate to the Cook County
                State’s Attorney’s Office, thereby promoting further assaults;

             h. failing to separate inmates who physically and/or sexually assault
                other inmates from the general population, thereby promoting
                further assaults;

             i. failing to discipline inmates who physically and/or sexually assault
                other inmates, thereby promoting further assaults;

             j. failing to investigate CCJ correctional officers who allegedly act
                with deliberate indifference to a pre-trial detainee’s constitutional
                rights; and,

             k. failing to discipline, reprimand, and/or terminate CCJ correctional
                officers who act with deliberate indifference to a pre-trial detainee’s
                constitutional rights.

      162.   Defendants Dart and Smith are liable to Plaintiff in their official

capacity because they are responsible for the policies and procedures implemented

at CCJ, which directly and proximately caused Plaintiff’s personal injuries as

described herein.

      163.   As a direct and proximate result of the wrongful customs, policies,

and/or practices in effect at CCJ as set forth herein, Plaintiff was deprived of the

rights, privileges, and immunities secured to her by the 14th Amendment of the

United States Constitution.




                                          40
    Case: 1:14-cv-08296 Document #: 1 Filed: 10/22/14 Page 41 of 44 PageID #:41




                      COUNT VIII - ILLINOIS STATE LAW

                  Intentional Infliction of Emotional Distress

                                 (All Defendants)

      164.   Each of the foregoing paragraphs is incorporated as if fully restated

herein.

      165.   In a manner more fully described above, Defendants engaged in

extreme and outrageous conduct.

      166.   As to the CCJ Defendants, this extreme and outrageous conduct was

rooted in an abuse of power and authority.

      167.   This extreme and outrageous conduct was undertaken with the intent

and/or knowledge that the conduct was extremely likely to inflict emotional distress

on Plaintiff, and constitutes the tort of intentional infliction of emotional distress

under Illinois state law.

      168.   As a direct and proximate result of the above-described misconduct,

Plaintiff suffered and continues to suffer extreme emotional distress.

                       COUNT IX - ILLINOIS STATE LAW

                            Sexual Assault and Battery

                               (Defendant Watson)

      169.   Each of the foregoing paragraphs is incorporated as if fully stated

herein.

      170.   Defendant Watson sexually and physically assaulted Plaintiff as

described in the foregoing paragraphs.



                                         41
    Case: 1:14-cv-08296 Document #: 1 Filed: 10/22/14 Page 42 of 44 PageID #:42




      171.   Defendant Watson’s misconduct constitutes the torts of sexual assault

and battery under Illinois state law.

      172.   As a direct and proximate result of the above-described misconduct,

Plaintiff suffered damages, including but not limited to physical pain, emotional

suffering, and mental anguish.

                       COUNT X - ILLINOIS STATE LAW

                                 Assault and Battery

                                    (Defendant Ayala)

      173.   Each of the foregoing paragraphs is incorporated as if fully stated

herein.

      174.   Defendant Ayala physically assaulted Plaintiff by beating her and

cutting her with a razor.

      175.   Defendant Ayala’s misconduct constitutes the torts of assault and

battery under Illinois state law.

      176.   As a direct and proximate result of the above-described misconduct,

Plaintiff suffered damages, including but not limited to physical pain, emotional

suffering, and mental anguish.

                         COUNT XI - STATE LAW CLAIM

                                    Indemnification

                        (Against Defendant Cook County)

      177.   Each of the foregoing paragraphs is incorporated as if fully restated

herein.



                                           42
    Case: 1:14-cv-08296 Document #: 1 Filed: 10/22/14 Page 43 of 44 PageID #:43




      178.    Pursuant to 745 ILCS 10/9-102, Defendant Cook County is empowered

and directed to pay any judgment for compensatory damages, and any associated

attorneys’ fees and costs, for which the Cook County Sheriff and/or its deputies,

acting within the scope of his or her employment, are found liable.

      179.    In a manner more fully described above, the misconduct by the

individual Defendants was committed within the course and scope of their

employment.

      180.    In the event that a judgment for compensatory damages is entered

against any of the individual Defendants, Defendant Cook County must pay the

judgment as well as the associated attorneys’ fees and costs.

                                 Prayer for Relief

      WHEREFORE, Plaintiff, by and through her attorneys, Kathleen T. Zellner

& Associates, P.C., requests that this Court enter judgment in her favor and against

Defendants, awarding compensatory damages. Further, because the conduct of all

the individually-named CCJ Defendants was motivated by evil intent and/or

involves reckless or callous indifference to Plaintiff’s federally-protected rights,

Plaintiff requests that this Court enter judgment awarding her punitive damages.

Plaintiff further requests that this Court enter judgment awarding her punitive

damages as to Defendants Watson and Ayala. Plaintiff also seeks attorneys’ fees,

costs, and such other and further relief this Court deems just and appropriate.




                                         43
    Case: 1:14-cv-08296 Document #: 1 Filed: 10/22/14 Page 44 of 44 PageID #:44




                                    Jury Demand

      Plaintiff hereby demands a trial by jury pursuant to Federal Rule of Civil

Procedure 38(b) on all issues so triable.

                                            Respectfully submitted,

                                            /s/ Kathleen T. Zellner
                                            Kathleen T. Zellner
                                            Kathleen T. Zellner & Associates, P.C.
                                            1901 Butterfield Road, Suite 650
                                            Downers Grove, Illinois 60515
                                            Phone: 630-955-1212
                                            Fax: 630-955-1111
                                            Email: kathleen.zellner@gmail.com




                                            44
